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  2
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                                                                        JAN 26 2015
  5
                                                                   CLERK U.S. BANKRUPTCY COURT
  6   General Insolvency Counsel                                   Central District of California
                                                                   BY reid       DEPUTY CLERK
      for Debtor and Debtor-in-Possession
  7
  8
  9                            UNITED STATES BANKRUPTCY COURT

 10                             CENTRAL DISTRICT OF CALIFORNIA

 11                                      SANTA ANA DIVISION

 12
 13   In re                                         Case No: 14-16651-ES
 14   CREATIVE OUTDOOR DISTRIBUTORS,                Chapter 11 Proceeding
      USA, INC.,
 15
                    Debtor.
 16
                                                        ORDER GRANTING MOTION FOR
 17                                                     DIMSISSAL OF BANKRUPTCY
                                                        CASE
 18
 19
 20
 21
                 The Court having considered Debtor and Debtor in Possession, CREATIVE
 22
      OUTDOOR DISTRIBUTORS, USA INC (“Debtor”) MOTION FOR ORDER APPROVING: 1)
 23
      DISMISSAL OF BANKRUPTCY CASE; AND 2)RESERVATION OF JURISDICTION FOR
 24
      PAYMENT OF ANY U.S. TRUSTEE FEES AND ANY FEE APPLICATIONS (“Motion”)
 25
      (Docket No. 15), the Opposition and Reply thereto, and good cause showing, hereby orders as
 26
      follows:
 27
      //
 28
      //
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  1            IT IS SHEREBY ORDERED that:
  2            1. The Motion is granted.

  3            2. The Bankruptcy Case is dismissed effective February 2, 2015. The February

  4                2, 2015 effective date is to permit Debtor to pay all outstanding U.S. Trustee

  5                Fees and to attend the 2004 examination.

  6            3. The Court reserved jurisdiction for payment of any U.S. Trustee fees.

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      Date: January 26, 2015
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